                    Case 2:05-cr-00161-KJM Document 144 Filed 04/02/14 Page 1 of 3
AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
           AARON TERRELL WARREN
                      (Defendant’s Name)                                  Criminal Number: 2:05CR00161-01


                                                                          Scott Tedmon, Appointed
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U]      admitted guilt to violation of charges 1, 2, and 3 as alleged in the violation petition filed on 12/20/2013 .


ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations:
Violation Number                     Nature of Violation                                     Date Violation Occurred
See next page.




The court: [U] revokes the conditions of supervision heretofore ordered on 7/5/2011 .

       The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.




         Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid.

                                                                 March 26, 2014
                                                                 Date of Imposition of Sentence



                                                                 Signature of Judicial Officer

                                                                 KIMBERLY J. MUELLER, United States District Judge
                                                                 Name & Title of Judicial Officer

                                                                 April 2, 2014
                                                                 Date
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AO 245D-CAED (Rev. 09/2011) Judgment in a Criminal Case for Revocation Sheet I
CASE NUMBER:                2:05CR00161-01                                                        Judgment - Page 2 of 3
DEFENDANT:                  AARON TERRELL WARREN

                                                       ADDITIONAL VIOLATION
                                                                                 Date Violation
Violation Number                     Nature of Violation                         Concluded

1                                    New Criminal Conduct                        12/3/2013

2                                    Failure to Follow Instructions of the
                                     Probation Officer                           12/4/2013

3                                    New Criminal Conduct                        12/18/2013
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AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:               2:05CR00161-01                                                                 Judgment - Page 3 of 3
DEFENDANT:                 AARON TERRELL WARREN


                                                         IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term
of 30 months with no supervised release to follow. .



[]       No TSR: Defendant shall cooperate in the collection of DNA.

[U]      The court makes the following recommendations to the Bureau of Prisons:
         The court recommends that the defendant be incarcerated in a California facility; insofar, as this accords with
         security classification and space availability.


[U]      The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on       .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                 Deputy U.S. Marshal
